 

Case 18-18281-.]KO Doc 15 Filed 08/07/18 Paglle 1 of 3
UNITED STATES BANKRUPTCY COURT, SOUTHERN DlSTRIC oF FLORIDA

www.f`lsb.uscourts.gov
CHAPTER 13 PLAN (lndividual Adjustment of Debts)

 

 

 

 

 

 

@ Original Plan
]:] Aniended Plan (Indicate lst, 2nd, etc. Ainended, if applicable)
:] Modified Plan (Indicate lst, 2nd, etc. Modified, if applicable)
DEBTOR: Marcos chy JOINT DEBTOR: CASE NO.: lS-lSZSl-.TKO
SS#Z x'xx-xx- SS#Z xxx-xx-
I. NOTICES
To chtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-l (C)(S), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments Within 30 days of
filing thc chapter 13 petition or Within 30 days of entry of the order convening the ease to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated

To All Parties: Tlte plan contains no nonstandard provisions other than those set out in paragraph Vlll. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

The valuation of a secured claim set out in Seetion lll which may result in a .

. ’ ’ . I l N l
partlal payment or no payment at all to the secured credltor E nc udcd il 01 mc udcd
Avoidance of` a judicial lien or nonpossessory, nonpurchase-money security interest, set .
am in Seetion m m lneluded E] Not included
Nonstandard provisions, set out in Seetion Vlll :] lneluded il Not included

 

 

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR[S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit ofthe creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

l. $l ,135.59 for months; toi;
2. $969,85 for monthsL to£;
B. DEBTOR(S)' ATTORNEY‘S FEE: |:l NONE |:| PRO BONO
Total Fces: $3500.00 Total Paid: S940.00 Balancc Duc: $2560_00
Payablc $170.6? fmonth (Months l to 2 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$3500.00 [Basie Legal Fees]

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

 

III. TREATMENT OF SECURE]) CLAIMS

A. SECURED CLAIMS: |:] NONE
[Retain Liens pursuant to l 1 U.S.C. §1325 (a)(5)] Mortgage(s)iLien on Real or Personal Property:

 

l. Creditor: SN Sel-Vicing Corporation

 

Addl'CSSZ 323 51]'1 SITCCI l'\rrearage,Jr Payol`l` on Petilion Dalc $?,568.?1
Eureka’ CA 95501 AIT 931 5 Paym€nl (CUIC) $126.l5 fmonth [Months l to £ )
Lasl 4 ngils of [Select Payment Type] $735_54 fmonth (Months l to L )
Account No.: 4?21
OIher:

 

 

 

 

l.I~`-fil (r::v_ lD.-'},"l?} Pagc l ol`§

Case 18-18281-.]KO Dcl))ccbfo§($): Ei|ed 98/07/18 Page 2 of 3

 

 

arcos cvy Casc numbcr: lS-l 828 l-JKO
|:l Real Property Check one below for Real Property:
|:[Principal Residence |:|Escrow is included in the regular payments
|:|Other Real Property |:|The debtor(s) will pay |:|taxes |:]insurance directly

Addrcss of Collateral:
16100 Golf`Club Road Apt 101
Wcston Florida 33326

|:| Personal Propertyt'Vehicle

Dcscription of` Collateral:

 

 

 

 

B. VALUATION OF COLLATERAL: |:| NONE
C. LIEN AVOIDANCE |:\ NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

|§| NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

|j NONE

[:| The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)‘ state law contract rights.

Name of Crcditor I_.ast 4 Digits of Aecount No. Dcscription of` Collateral (Address, Vehielc, ctc.)

l.

 

IV. TREATMENT OF FEES AN]) PRIORITY CLAIMS [as defined in II U.S.C. §50? and ll U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' A'I'I`ORNEY'S FEE: [:| NONE
B. INTERNAL REVENUE SERVICE: |:| NONE
C. DOMEST|C SUPPORT oBLIGATION(St: |I| NONE
D. OTHER: |:| NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $20,00 fmonth (Months L to § )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. |:| lf checkcd, thc chtor(s) will amendfmodify to pay 100% to all allowed unsecured nonpriority claimsv
C. SEPARATELY CLASSIFIED: [:| NONE

*Debtor(s) certify the separate classifieation(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to l l U.S.C. § 1322.

Vl. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditorflessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

|§| NONE
vn. INCOME TAX RETURNS AND REFUNDS: |j NONE

@ Debtor(s) shall provide copies of yearly income tax returns to the Trustee (but not file with the Court) no later than May
15th during the pendency of the Chapter 13 case. ln the event the debtor(s)’ disposable income or tax refunds increase,

debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
allowed unsecured claims [Browardff’alrn Beach cases]

Vlll. NON-STANDARD PLAN PROVISIONS |II NONE

LF-Sl (rev_ 10r'3."1?) Page 2 01`3

Case 18-18281-.]KO Dcl))ccb%]§($): Ei|ed 98/07/18 Page 3 of 3

i.‘l[COS

 

PROPERTY OF TI'l'E ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONF]RMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of` perjury.

Debtor Joint Debtor

cvy Case numbcr: lS-l 828 l-JKO

 

 

MHICDS Levy Date Date

 

Attomey with permission to sign on Date
Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstantlartl provisions other than those set out in paragraph VIII.

LF-3l (rev_ 10£3#’1?) Page 3 01`3

